       Case 20-67784-jwc                     Doc   Filed 12/22/21 Entered 12/22/21 10:46:26                             Desc Main
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Fill in this information to identify the case:
Debtor 1 Darwin G. Flores
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Northern District of Georgia
                                                                       (State)

Case number 20-67784-JWC


Official Form 410S2

Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                     12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:            NewRez LLC d/b/a Shellpoint Mortgage                Court claim no. (if known):   15
                             Servicing


Last 4 digits of any number you use to
identify the debtor's account:                     9023


Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
              No
X             Yes. Date of the Last Notice         02/01/2021


Part 1:               Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include
any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.
                          Description                               Date(s) Incurred                                Amount

Filing Fee                                                             11/2/2021                                    $188.00
Motion for Relief Fees and Costs                                       11/2/2021                                    $1,050.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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Debtor 1 Darwin G. Flores                                              Case number (if known) 20-67784-JWC

Part 2:        Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

 Check the appropriate box.

    I am the creditor.
     I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.

X        /s/ Lisa F. Caplan                                            Date    12/22/21
         Signature
Print:               Lisa F. Caplan                                    Title   Attorney for Creditor
                     First Name       Middle Name Last Name

Company              Rubin Lublin, LLC

Address              3145 Avalon Ridge Place, Suite 100
                     Number       Street
                     Peachtree Corners, GA 30071
                     City                       State     ZIP Code

Contact phone (877) 813-0992                                           Email lcaplan@rlselaw.com




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                               UNITED STATES BANKRUPTCY COURT

                                                      Notice to Borrower
Upon written request, you are entitled to the following information:
   A. A copy of your payment history from the period the mortgage loan was last less than 60 days delinquent to present
   B. A copy of the promissory note or lost note affidavit where applicable
   C. The name of the investor that holds the loan
   D. If we have initiated foreclosure or filed a Proof of Claim, you may obtain copies of any assignments of mortgage or
       deed of trust required to demonstrate our right to foreclosure under applicable state law.

To obtain this information, submit a written request to:


Borrower Information Requests
NewRez LLC, F/K/A New Penn Financial, LLC, D/B/A Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603-0826




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                                      CERTIFICATE OF SERVICE

       I Lisa F. Caplan of Rubin Lublin, LLC certify that I caused a copy of the Notice of Postpetition
Mortgage Fees, Expenses, and Charges to be filed in this proceeding by electronic means and to be
served by depositing a copy of the same in the United States Mail in a properly addressed envelope
with adequate postage thereon to the said parties as follows:

Darwin G. Flores
5598 Charmaine Bnd
Norcross, GA 30071

Peter G. Lopez
The Semrad Law Firm
235 Peachtree Street NE
Suite 300
Atlanta, GA 30303

Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Truist Plaza Garden Offices
Atlanta, GA 30303

Executed on 12/22/21

By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rlselaw.com
Attorney for Creditor




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